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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                OWENSBORO DIVISION

QWENTIN LAMAR BANKS                                                                  PLAINTIFF

v.                                                 CIVIL ACTION NO. 4:20-CV-P120-JHM

JOSEPH STRATTON et al.                                                           DEFENDANTS

                                       MEMORANDUM

         By Order entered November 16, 2020 (DN 6), this Court ordered Plaintiff Qwentin

Lamar Banks to complete and sign page 6 of the 42 U.S.C. § 1983 complaint form. In doing so,

the Court warned Plaintiff that failure to comply within the time allotted would result in

dismissal of the instant action.

         More than 30 days have passed since entry of that Order without compliance from

Plaintiff. Courts have an inherent power “acting on their own initiative, to clear their calendars

of cases that have remained dormant because of the inaction or dilatoriness of the parties seeking

relief.” Link v. Wabash R.R. Co., 370 U.S. 626, 630 (1962). Therefore, by separate Order, the

Court will dismiss the instant action. See Fed. R. Civ. P. 41(b) (governing involuntary

dismissal).

Date:   January 11, 2021




cc:     Plaintiff, pro se
4414.009
